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 4 Telephone: (916) 554-2700                                      CLERK, U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF CALIFORNIA

 5 Attorneys for Plaintiff
   United States of America
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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11 UNITED STATES OF AMERICA,                           CASE NO.          2:24-cr-0325 DC
12                                 Plaintiff,
                                                       18 U.S.C. § 933(a)(1) – Trafficking in Firearms
13                          v.

14 ALEJANDRA SUSANA CASTILLO,

15                                Defendant.

16

17                                              INFORMATION

18          The United States Attorney charges: T H A T

19                                    ALEJANDRA SUSANA CASTILLO,

20 defendant herein, and Co-Conspirator 1, beginning on a date uncertain, but no later than on or about

21 August 22, 2023, and continuing through on or about August 27, 2024, in San Joaquin County, State and

22 Eastern District of California, and elsewhere, knowing or having reasonable cause to believe that the use,

23 carrying, or possession of a firearm by the recipient would constitute a felony as defined by Title 18,

24 United States Code, 932(a), did ship, transport, cause to be transported, or otherwise dispose of any

25 firearm to another

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                Case 2:24-cr-00325-DC Document 1 Filed 12/19/24 Page 2 of 3


 1 person in or otherwise affecting interstate and foreign commerce, all in violation of Title 18, United States

 2 Code, Section 933(a)(1).

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 4

 5   Dated: December 19, 2024                              PHILLIP A. TALBERT
                                                           United States Attorney
 6
                                                     By: /s/ Adrian T. Kinsella
 7                                                       ADRIAN T. KINSELLA
                                                         Assistant United States Attorney
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                               United States v. Castillo
                               Penalties for Information


VIOLATION:            18 U.S.C. § 933(a)(1) – Trafficking in Firearms

PENALTIES:            Imprisonment of up to 15 years; or
                      Fine of up to $250,000; or both fine and imprisonment
                      Supervised release of up to 3 years

SPECIAL ASSESSMENT:   $100 (mandatory)
